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                                 IN THE UNITED STATES DISTRICT COURT
10
                                    EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                           CASE NO. CR S 13-304 MCE
                                                         CASE NO. CR S 07-348 MCE
13                                 Plaintiff,
                                                         STIPULATION REGARDING EXCLUDABLE
14                          v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
15   DARRON ANTJUAN REED,
                                                         DATE: October 24, 2013
16                                Defendant.             TIME: 9:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
17
18                                               STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20 through defendant’s counsel of record, hereby stipulate as follows:
21          1.      By previous order, this matter was set for status on October 24, 2013. It is noted that the
22 matter consists of two related cases, including a petition alleging a violation of the terms of supervised
23 release in case CR S 07-348 MCE.
24          2.      By this stipulation, defendant now moves to continue the status conference until
25 December 5, 2013, and to exclude time between October 24, 2013, and December 5, 2013, under Local
26 Code T4, in case CR S 13-304 MCE.
27          3.      The parties agree and stipulate, and request that the Court find the following:
28                  a)      The government has represented that the discovery associated with this case is

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 1          primarily physical evidence, seized from the defendant’s residence, which is available for review

 2          by his counsel.

 3                  b)        Counsel for defendant desires additional time to conduct legal research regarding

 4          the pending charges, and to arrange to physically inspect the evidence in this case.

 5                  c)        Counsel for defendant believes that failure to grant the above-requested

 6          continuance would deny him the reasonable time necessary for effective preparation, taking into

 7          account the exercise of due diligence.

 8                  d)        The government does not object to the continuance.

 9                  e)        Based on the above-stated findings, the ends of justice served by continuing the

10          case as requested outweigh the interest of the public and the defendant in a trial within the

11          original date prescribed by the Speedy Trial Act.

12                  f)        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13          et seq., within which trial must commence, the time period of October 24, 2013 to December 5,

14          2013, inclusive, is deemed excludable in case CR S 13-304 MCE pursuant to 18 U.S.C.§

15          3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by the Court

16          at defendant’s request on the basis of the Court’s finding that the ends of justice served by taking

17          such action outweigh the best interest of the public and the defendant in a speedy trial.

18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.
21          IT IS SO STIPULATED.

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23
     Dated: October 21, 2013                                   BENJAMIN B. WAGNER
24                                                             United States Attorney
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                                                               /s/ PHILIP A. FERRARI
26                                                             PHILIP A. FERRARI
                                                               Assistant United States Attorney
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 1 Dated: October 21, 2013                      /s/ JASON LAWLEY
                                                JASON LAWLEY
 2                                              Counsel for Defendant
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 6                                FINDINGS AND ORDER
 7        IT IS SO ORDERED.
 8 Dated: October 23, 2013
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